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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-175-5 (TJK)
               v.                             :
                                              :
ENRIQUE TARRIO,                               :
                                              :
                       Defendant.             :


                    GOVERNMENT’S RESPONSE TO DEFENDANT’S
                      EMERGENCY MOTION FOR FURLOUGH

       On September 8, 2022, defendant Tarrio filed an emergency motion, asking the Court to

allow him a “short furlough” from pretrial detention to allow him to attend the funeral and

cremation ceremonies for his grandmother, which are scheduled to take place on September 9 and

10, 2022. ECF No. 456. As the Court noted by Minute Order dated September 8, 2022, the

defendant’s motion cites no statutory or case authority authorizing the relief he requests, nor does

he provide the Court with any concrete plans. In that same Minute Order, the Court ordered the

government to respond to defendant Tarrio’s motion by 5 p.m. today.              Accordingly, the

government’s response follows:

       The Court has the authority to order temporary release pursuant to 18 U.S.C. § 3142(i).

That provision provides, in pertinent part, “The judicial officer may . . . permit the temporary

release of the person, in the custody of a United States marshal or another appropriate person, to

the extent that the judicial officer determines such release to be necessary for preparation of the

person’s defense or for another compelling reason.” The Court, in its discretion, could (but is not

required to) find that temporary release to attend funeral services of a loved one provides a

compelling reason under that statute. See United States v. Williams, 2020 WL 4431565 (W.D. Pa.

July 31, 2020) (unpublished) (acknowledging that the defendant’s motion for temporary release to



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attend a funeral was governed by 18 U.S.C. § 3142(i), but denying the motion). Under the standard

articulated in Williams, Tarrio is required to demonstrate (1) that his temporary release is necessary

for the preparation of his defense or another compelling reason, and (2) that he could be released

to the custody of the United States marshal or another appropriate person. Id. at *2, citing United

States v. Lee, 2020 WL 1541049, at *6 (D.D.C. Mar. 30, 2020) (analyzing § 3142(i) in the context

of the COVID-19 pandemic).

       Defendant’s motion, as the Court’s Minute Order notes, “does not point to any logistical

groundwork that has been laid” to support his requested furlough. Under the framework laid out

above, that is his burden. Undersigned counsel is sympathetic to the time constraints at play here,

and if the defendant presents a concrete plan to the Court, the government would be happy to weigh

if it would be helpful to the Court. Defendant’s motion correctly represented that the government

ultimately defers to the Court in the exercise of its discretion as to whether to grant the motion, if

the defendant is able to make a more concrete proffer than his original motion did.


                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:      _/s/ Erik M. Kenerson __________
                                                ERIK M. KENERSON // Ohio Bar No. 82960
                                                JASON B.A. MCCULLOUGH
                                                  D.C. Bar No. 998006
                                               NADIA E. MOORE // N.Y. Bar No. 4826566
                                                 On Detail to the District of Columbia
                                               Assistant United States Attorneys
                                               601 D Street NW
                                               Washington, D.C. 20530
                                               (202) 252-7201
                                               Erik.Kenerson@usdoj.gov




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                            _/s/ Conor Mulroe_______________
                            Conor Mulroe // N.Y. Bar No. 5289640
                           Trial Attorney // U.S. Department of Justice,
                             Criminal Division
                           1301 New York Ave. NW
                           Suite 700
                           (202) 330-1788
                           conor.mulroe@usdoj.gov




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